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                                    In the United States Bankruptcy Court
                                     for the Southern District of Georgia
In the matter of:                                                       )                                    Chapter 13 Case
CHRISTOPHER JOHN ROOKS                                                  )
                                                                        )                                    Number         15-20167
                                                                                                                            15 20167
                                         Debtor(s)                      )

                                                 CHAPTER 13 PLAN AND MOTION
                                                      [General Order 2005-3 Approved Form]

1. Debtor(s) shall pay to the Trustee the sum of $         214.00                                  for the applicable commitment period of:

          60 months: or                                                              (If applicable include the following): These plan payments
                                            months § 1325(b)(4)
          not less than 36 nor more than 60 months.  1325(b)(4).                     change to $__________monthly
                                                                                                $             monthly on __________, 20__.
                                                                                                                                        20

2. From the payments so received, the Trustee shall make disbursements as follows:

    (a)    The Trustee percentage fee as set by the United States Trustee.

    (b) Attorney fees allowed pursuant to § 507(a)(2) of $          3,000.00        to be paid in accordance with applicable General Orders
        of this Court.

    (c) Other § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of the plan as funds become
        available in the order specified by law.

    (d)         Monthly payments according to the contract on the following long-term debts. § 1322(b)(5). (Payments which become
                due after the filing of the petition but before the month of the first payment designated here will be added to the pre-
                petition arrearage claim):

                   CREDITOR                          MONTH OF FIRST TRUSTEE PAYMENT                INITIAL MONTHLY PAYMENT


          IN THE ALTERNATIVE:
               Debtor will make post-petition payments direct to creditor according to the contract on the following long-term debts:

                  CREDITOR                                                                   INITIAL MONTHLY PAYMENT
                SETERUS ON RESIDENCE                                                                       765.00


    (e)      Fully Secured Allowed Claims and Executory Contracts as set forth below:

            CREDITOR                      COLLATERAL             ESTIMATED CLAIM             INTEREST RATE      MONTHLY PAYMENTS(Est.)*
          TITLEMAX                       1998 DODGE                    821.00                     5.0%                    16.70 **




    (f)      Undersecured Allowed Claims.
                                   Claims Debtor moves to value the collateral partially securing the following claims pursuant to
             § 506 and provide payment in satisfaction of those claims as set forth below:

             CREDITOR                     COLLATERAL                   VALUATION             INTEREST RATE          MONTHLY PAYMENTS




*   Payment
      y     amount is estimated because the Claim is estimated. It will be adjusted
                                                                             j      according
                                                                                            g to the actual allowed secured claim.
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     (g) Cure payments on allowed prepetition arrearage claims as set forth below. § 1322(b)(5):

                           CREDITOR                                                           ESTIMATED PREPETITION CLAIM
               SETERUS ON RESIDENCE                                                                      4,800.00


     (h) The following unsecured allowed claims are classified to be paid at 100%          with interest at ____%;     without interest.

        (i) Allowed general unsecured claims, including the unsecured portion of any bifurcated claims provided for in ¶ 2(f) or 6, will
            be paid a      0.00 % dividend or a prorata share of $                                   , whichever is greater.

3.   Debtor will make § 1326(a)(1) pre-confirmation lease and adequate protection payments on allowed claims of the following
     creditors:       Direct to the Creditor; or           To the Trustee

                                CREDITOR                                   ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT




4.   Debtor will pay all post-petition domestic support obligations direct to the holder of such claim identified here. § 101(14A).
     Debtor requests Trustee to provide the statutory notice of § 1302(d) to these claimants.

                                CREDITOR                                                            ADDRESS


5.   Pursuant to 11 U.S.C. § 522(f), debtor moves to avoid the liens of the following creditors, upon confirmation but subject to § 349,
     with respect to the property described below:

                                CREDITOR                                                            PROPERTY
     FIA CARD SERVICES                                                     JUDGMENT


6.   The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below:

                      CREDITOR                      DESCRIPTION OF COLLATERAL                    AMOUNT OF CLAIM SATISFIED




7.   Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by § 1325(a)(5).

8.   Other Provisions:

     IN THE EVENT THAT STAY RELIEF IS GRANTED AS TO ANY LONG TERM DEBT PROVIDED FOR IN SECTION
     2.(d) ABOVE, SUCH DEBT SHALL ALSO BE DISCHARGED UPON COMPLETION OF THE PLAN.

     **AFTER CONFIRMATION AND AFTER ADEQUATE PROTECTION PAYMENTS, SECURED CREDITORS
     WILL BE PAID PRO-RATA WITH ADMINISTRATIVE CLAIMS BASED ON AVAILABILITY OF FUNDS.
9.   The amount, and secured or unsecured status, of claims disclosed in this Plan are based upon debtor's best estimate and belief.
     An allowed proof of claim will supercede those estimated claims. Objections to claims may be filed before or after confirmation.
     Debtor will increase payments in the amount necessary to fund allowed claims as this Plan proposes, after notice from the Trustee
     and a hearing if necessary, unless a Plan Modification is approved.


Dated      3/5/15                                                    /s/ CHRISTOPHER JOHN ROOKS


                                                                     /s/
